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                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

TARA MATHENA, Individually and as
Personal Representative of the Estate
Of PETER TYRRELL.,                                                                    PLAINTIFF


v.                                Case No. 1:21-cv-00368-RTD


THE UNITED STATES OF AMERICA                                                       DEFENDANT

                                            ORDER

       Before the Court is Defendant’s unopposed Motion to Move Trial Date (ECF No. 37). The

Court finds that no response is necessary, and this matter is now ready for consideration.

       This matter is rescheduled for a three-day bench trial beginning at 9:30 a.m. on September

19, 2022, with the subsequent trial days beginning at 9:00 a.m. The previously set trial date of

November 7, 2022, in paragraph 13 of D.I. 11 is VACATED. The pretrial conference previously

set for November 1, 2022, at 4:30 PM shall now be set for September 16, 2022, at 2:00 P.M.

through telephonic conference.

       IT IS SO ORDERED this 5th day of August 2022.



                                               Robert T. Dawson
                                             /s/
                                             ROBERT T. DAWSON
                                             SENIOR U.S. DISTRICT JUDGE




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